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   EXHIBIT C
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Designation List
21 Naturals Pornstars      Jerkmate                   tinychat
AmateurPorn                JoYourself                 Tushy
Anything XXX cams          JustForFans                visit-x
Arousr                     liveatbrazzers             Vixen
Bado Cams                  LiveJasmin                 Wankz VR
Bentbox                    ManyVids                   Webcams
BitVids                    Megafans                   Xcams
Blacked                    MetArt                     Xhamsterlive
BlueBee                    MetCams                    xlovecam
Bongacams                  Midnite Socials            XVR Chat
BubbleClips                Model Centro               Youcam
c2c porn                   ModelClips                 YouJizz Flirt
CAM4                       ModelHub by PornHub        YouPorn Mate
CamContacts                Mycams
Camdolls                   MyDirtyHobby
Camfuze                    Naked
CamLust                    Naughty America
Camlust                    Pornstars
Camplace                   NudeLive
Cams                       Passion Cams
CamsCreative               Patreon
Camslurp                   PlayWithMe
CamSoda                    Porn.com Live
Camster                    Porndude Cams
Camversity                 PornHub Live
Celebtv                    RabbitsCams
Chatty Planet              Raydolls House
Chaturbate                 RealityKings Girls
Clips4Sale                 RedTube Live
Digital Playground         Royalcams
Pornstars                  SecretFriends
ErotiFix                   sex.cam
Extasy Cams                Sexier
Extra Lunch Money          SideDaddy
Fancentro                  SkyPrivate
Flirt4Free                 Slutroulette
Girls Private Cam          SoulCams
Heheparty Cams             SpankBang Cams
ImLive                     Streamate
IsLive                     Streammate
IsMyGirl                   Streamray
iwantclips                 Stripchat
